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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                   AUGUSTA,DUBLIN and STATESBORO DIVISION

IN RE:
                                                 Case Nos.:

LEAVE OF ABSENCE REQUEST
                                                              CRl 18-072, C. Caudle
PATRICIA G. RHODES
                                                              CRI19-0I8, Z. Gordon, et. al.
January 27, 2020 through January 31, 2020
                                                              CR1I9-029, 0. Echols, et. al.
and February 18, 2020 through February                        CRl 19-032, J. Hambrick, et. al.
21, 2020.
                                                              CRI19-047, W. Forrester, et. al.
                                                              CR119-077, V. Kunakowsky (Inf)
                                                              CR1I9-110, C. Bolt
                                                              CR119-1I3, T. Freeman, et. al.
                                                              CRI19-151, D. Reid
                                                              CRl 13-010, A. Willingham
                                                              CRI17-027, J. Hamm
                                                              CRI16-058, D. Cobb
                                                              CR116-087, D. Copeland

                                                              CR315-005, K. Cook

                                                              CR619-007, A. Powell
                                                              CR619-013, J. Aldrich

                                                              CVU8-027, A. Willingham
                                                              CV118-192, J. Hamm
                                                              CV119-135, D. Cobb
                                                              CV119-182, D. Copeland

                                          ORDER


         Upon consideration of the Motion for Leave of Absence filed by the United States of

 America in the above-cited cases on behalf of Assistant United States Attorney Patricia G.

 Rhodes for the dates of January 27, 2020 through January 31, 2020 to travel out of the

 country for work purposes and February 18, 2020 through February 21, 2020 for a vacation

 out of state; same is hereby GRANTED.

         This^tf^y of                                2019.


                                           CHI          IE J. RAl^AL HALL
                                           UNITE 'STATES DISTRICT COURT
                                           SCUT    ]RN DISTRICT OF GEORGIA
